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                          UNITED STATES DISTRICT COURT
  9
                         CENTRAL DISTRICT OF CALIFORNIA
 10
      NATHANAEL PORRAS, on behalf of               Case No. CV 23-5299-DMG (ASx)
 11
      himself and all others similarly situated,
 12                                                ORDER APPROVING STIPULATION
                                                   TO ARBITRATE [15]
 13
                        Plaintiff,
 14
              vs.
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 16   FIVE BELOW, INC., a Pennsylvania
 17   Corporation; and DOES 1 through 50,
      inclusive;
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 19                     Defendants.

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Case 2:23-cv-05299-DMG-AS Document 16 Filed 10/10/23 Page 2 of 2 Page ID #:189



  1       IT IS HEREBY ORDERED, pursuant to the stipulation of the parties hereto,
  2 that this entire action, Nathanael Porras v. Five Below, Inc., Case No. 2:23-cv-
  3 05229-DMG, be dismissed so that the parties may proceed to binding individual
  4 arbitration. This Court shall retain jurisdiction to enforce this Order, the stipulation
  5 to binding arbitration, and any arbitration award rendered in the arbitration. All
  6 scheduled dates and deadlines are VACATED.
  7 IT IS SO ORDERED.
  8
      DATED: October 10, 2023                     _______________________
  9                                               DOLLY GEE
 10                                               UNITED STATES DISTRICT JUDGE

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